                        Case 3:18-md-02843-VC Document 1075 Filed 11/15/22 Page 1 of 6


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               2                                 UNITED STATES DISTRICT COURT
                                               NORTHERN DISTRICT OF CALIFORNIA
               3
                                                    SAN FRANCISCO DIVISION
               4

               5
                   IN RE: FACEBOOK, INC. CONSUMER PRI-            CASE NO. 3:18-MD-02843-VC
               6   VACY USER PROFILE LITIGATION,
                                                                  STIPULATION AND [PROPOSED]
               7                                                  ORDER FOR EXTENSION OF TIME
                   This document relates to:
               8
                   ALL ACTIONS
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Crutcher LLP
                                     STIPULATION AND [PROPOSED] ORDER FOR EXTENSION OF TIME
                                                      CASE NO 3:18-MD-02843-VC
                         Case 3:18-md-02843-VC Document 1075 Filed 11/15/22 Page 2 of 6


               1          By and through their undersigned counsel, the parties hereby stipulate and agree as follows:
               2          Whereas, the Court issued an order directing Plaintiffs to submit certain billing records relating
               3   to their motion for sanctions and a supplemental brief addressing the reasonableness of those fees by
               4   November 16, 2022, and allowing Facebook and Gibson Dunn to file a response to those billing records
               5   and supplemental brief by November 23, 2022;
               6          Whereas, Plaintiffs seek a two day extension to November 18, 2022 to carefully review and
               7   present the information the Court has requested;
               8          Whereas, Facebook and Gibson Dunn anticipate they will require more than one week to assess
               9   and respond to Plaintiffs’ billing records and supplemental brief, and the one week currently allowed
           10      by the Court’s order is during the Thanksgiving holiday week, Facebook and Gibson Dunn asked
           11      Plaintiffs if they would stipulate, subject to the Court’s approval, to extend their deadline to file a
           12      response until December 7, 2022, and Plaintiffs agreed.
           13             NOW, THEREFORE, THE PARTIES JOINTLY REQUEST, that Plaintiffs’ deadline to
           14      submit billing records and a related supplemental brief be extended to November 18, 2022; and that
           15      Facebook and Gibson Dunn’s deadline to file a response be extended to December 7, 2022.
           16
                   Dated: November 15, 2022                                  Respectfully submitted,
           17

           18      KELLER ROHRBACK L.L.P.                                    BLEICHMAR FONTI & AULD LLP
           19      By:    /s/ Derek W. Loeser                                By:     /s/ Lesley E. Weaver
                          Derek W. Loeser                                            Lesley E. Weaver
           20
                   Derek W. Loeser (admitted pro hac vice)                   Lesley E. Weaver (SBN 191305)
           21      Cari Campen Laufenberg (admitted pro hac vice)            Anne K. Davis (SBN 267909)
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           22      Adele A. Daniel (admitted pro hac vice)                   Angelica M. Ornelas (SBN 285929)
                   Benjamin Gould (SBN 250630)                               Joshua D. Samra (SBN 313050)
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                                                       CASE NO 3:18-MD-02843-VC
                        Case 3:18-md-02843-VC Document 1075 Filed 11/15/22 Page 3 of 6


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               9    DATED: November 15, 2022                   Respectfully submitted,
           10                                                  GIBSON, DUNN & CRUTCHER, LLP
           11                                                  By: /s/ Rosemarie T. Ring
                    Deborah Stein (SBN 224570)                 Rosemarie T. Ring (SBN 220769)
           12       dstein@gibsondunn.com                      rring@gibsondunn.com
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           25       Attorneys for Defendant Facebook, Inc.
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                                     STIPULATION AND [PROPOSED] ORDER FOR EXTENSION OF TIME
                                                      CASE NO 3:18-MD-02843-VC
                       Case 3:18-md-02843-VC Document 1075 Filed 11/15/22 Page 4 of 6


               1   PURSUANT TO STIPULATION, IT IS SO ORDERED.
               2

               3

               4   DATE: ____________________                  ___________________________________
               5                                               VINCE CHHABRIA
                                                               United States District Judge
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                                 STIPULATION AND [PROPOSED] ORDER FOR EXTENSION OF TIME
                                                  CASE NO 3:18-MD-02843-VC
                        Case 3:18-md-02843-VC Document 1075 Filed 11/15/22 Page 5 of 6


               1                                     SIGNATURE ATTESTATION
               2          Pursuant to Local Rule 5-1(i)(3), I attest that concurrence in the filing of this document has
               3   been obtained.
               4   Dated: November 15, 2022                                    By: /s/ Rosemarie T. Ring______
                                                                                       Rosemarie T. Ring
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                                      STIPULATION AND [PROPOSED] ORDER FOR EXTENSION OF TIME
                                                       CASE NO 3:18-MD-02843-VC
                        Case 3:18-md-02843-VC Document 1075 Filed 11/15/22 Page 6 of 6


               1                                      CERTIFICATE OF SERVICE
               2          I, Rosemarie T. Ring, hereby certify that on November 15, 2022, I electronically filed the
               3   foregoing with the Clerk of the United States District Court for the Northern District of California us-
               4   ing the CM/ECF system, which shall send electronic notification to all counsel of record.
               5                                                                By: /s/ Rosemarie T. Ring
                                                                                        Rosemarie T. Ring
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                                                       CASE NO 3:18-MD-02843-VC
